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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-CV-1300-MSK-MJW

   JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

         Plaintiffs,

   vs.

   JOHN W. HICKENLOOPER, Governor of the State of Colorado,

         Defendant.

   RESPONSE OF RIO BLANCO COUNTY SHERIFF SI WOODRUFF
           TO DEFENDANT’S INTERROGATORIES

          Sheriff Woodruff, by and through his undersigned counsel, and pursuant to Fed.
   R. Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                               GENERAL OBJECTIONS

         Where no objection is interposed, the responses below reflect all responsive
 information and documents identified by Sheriff Woodruff before the date of the
 responses, pursuant to a reasonable and diligent search and investigation conducted
 in connection with this discovery. To the extent the discovery purports to require
 more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
 conduct a search beyond the scope of permissible discovery contemplated by the
 Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
 oppressive, and would impose an undue burden or expense.

         Sheriff Woodruff’s discovery responses are also made subject to the ongoing
   discovery and trial preparation in this case. These discovery responses are made
   based on the best information, including facts available as of the date of such
   responses. Sheriff Woodruff reserves the right to amend, supplement, or change
   these discovery responses as permitted or required under the Federal Rules of Civil
   Procedure based on additional information obtained through the discovery and trial
   preparation process.

         Sheriff Woodruff makes each individual response subject to and without
   waiving the conditions and objections that are stated in the sections of these
   responses entitled “General Objections” and “Objections to Instructions and




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   Definitions” and that are specifically referred to in that particular individual
   response.

          Sheriff Woodruff makes each individual response without adopting in any
   way (unless otherwise stated) the terms and phrases that Defendant purports to
   define in his discovery. When Sheriff Woodruff uses words or phrases that
   Defendant has purported to define, those words and phrases should be given either
   (a) the meaning set out by Sheriff Woodruff in his responses, or in its objections to
   the specific definitions, or (b) the ordinary meaning of such words or phrases.

               OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          Defendant has purported to define several terms used in his discovery. In his
   responses, Sheriff Woodruff gives ordinary words and phrases their ordinary
   meaning. By making this written response, Sheriff Woodruff does not (a) adopt any
   purported definition, (b) waive or limit its objections to Defendant’s purported
   definitions, or (c) concede the applicability of any such definition to any term or
   phrase that might be contained in written responses. Wherever these words are
   used in Defendant’s interrogatories, these objections and these clarifications are
   incorporated, unless otherwise specified in the request.

         Defendant purported to define “you” and “your” to include “counsel for
   Plaintiffs.” Sheriff Woodruff objects to this definition to the extent that it purports
   to require the disclosure of information, communications, or documents protected
   from disclosure by the attorney-client privilege, work product immunity, or any
   other privilege or immunity.

   RESPONSES

   1. With respect to each and every home invasion or “robbery in the home” to which
   your department has responded since January 1, 2004, please:

      a. describe the circumstances surrounding the home invasion/robbery in the
         home, including: the date and location (by city and county), the number of
         perpetrators involved, whether or not the perpetrator(s) carried firearms, and
         whether or not the perpetrator(s), victim(s), or others fired any shots;

   Response:

   August 8, 2012 - 3 deputies with the Rio Blanco County Sheriff’s Office were asked
   to assist the Rangely Police Department in the arrests of two individuals involved
   with an armed home invasion and assault.

   Earlier that evening two men, Kellen Kuck and Derek Muisner, forcibly entered
   into an apartment located at 125 Darius Ave. in Rangely. Upon entering the



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   residence the two males physically assaulted a single male occupant by striking him
   on the back of the head with a large caliber revolver. Afterwards, the two males
   forced the barrel of the revolver into the mouth of the victim and threatened his life.
   They then asked for the whereabouts of two other males that lived in the
   apartment. After a short time the two males exited the residence and while doing so
   fired a single round into the floor of the residence.

   A sergeant from the Rangely Police Department and a deputy from the Rio Blanco
   Sheriff's Office assisted in the arrest and search of the suspect’s residence. Another
   deputy assisted with the transport of Kuck. Both subjects were taken out of the
   residence at gunpoint.


         b. if a firearm was fired or otherwise used or displayed by any person,
         identify who used, displayed, or discharged the firearm, the manner in which
         they did so, whether the firearm used a magazine, the capacity of any
         magazines from which bullets were fired, the number of rounds fired by each
         individual, and whether any person was shot;

   Response: Sheriff Woodruff objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection:

   The deputy and the officer both displayed their guns while arresting and removing
   the suspects from the residence. The only shot fired was fired by one of the suspects
   as indicated above.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable. No one was shot or killed.


   2. With respect to each and every occasion when you, your predecessor(s) in office,
   or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
   2004 (not including firearm practice or training), please:

   a. describe the circumstances surrounding the firearm discharge, including the
   date, location (by city and county), the reason for the firearm discharge, and
   whether you, your predecessor(s), or deputy were fired upon;




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   Response: Sheriff Woodruff objects to this interrogatory on the ground that it is
   overbroad and not reasonably calculated to lead to the discovery of admissible
   evidence. Subject to and without waiving this objection:

   December 10, 2004 - A woman called to report that Everett Link had “gone
   ballistic.” He had been drinking and had fired two shots at his girlfriend. He
   had also choked a second person, and threatened to kill her with a gun.
   Everyone had escaped the residence, leaving Link still there.
   The second person reported to the Sheriff’s Office that Link possessed four
   shotguns, one 7mm rifle, two 25-’06 rifles, one .223 rifle, and one 9mm handgun.
   She also reported that Link had said that all of his weapons were loaded and
   ready to go.
   Nine law enforcement officers went to the house. Details of the incident are in a
   Dec. 28, 2005, District Attorney report, which is submitted in response to the
   request for production of documents.
   Link attempted to escape in his pickup truck and a police pursuit ensued. The
   incident took place near the intersection of Colorado Highway 64 and Rio
   Blanco County Road 5, within the County of Rio Blanco.


   Link exited the truck and began bringing his Remington SP-10 magnum
   shotgun (one shell in the chamber and two in the magazine) towards a patrol
   car.
   The one and only deputy to shoot the Link shot 15 times, emptying his handgun
   magazine and then reloading, although he did not fire from the second
   magazine. The deputy shot in self-defense and to protect other deputies and
   police officers.

   b. if a firearm was fired by any person involved in the event, identify who fired the
   firearm, whether the firearm used a magazine, the capacity of any magazines from
   which bullets were fired, the number of rounds fired by each individual, and
   whether any person was shot;

   Response: Sheriff Woodruff objects to this interrogatory on the ground that the
   word “event” is vague. Subject to and without waiving this objection:

   The firearm used by the deputy was a Glock .40 caliber with a magazine that held
   15 rounds. In this instance, 15 shots were fired and the magazine was emptied. The
   officer then loaded another 15 round magazine.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.



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   Response: The individual shot was Everett Alan Link and he was killed during
   the shooting. According to a postmortem examination, 10 rounds hit Link. Several
   of these rounds had apparently ricocheted off another object, or had struck another
   object before hitting Link. Of the 10 hits, six were “not immediately fatal or
   incapacitating”; three were “not immediately fatal”; and one was “rapidly fatal.”



   3. With respect to the allegations of paragraph 102 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 1973 in which you or your
   predecessors in office requested the armed assistance of able-bodied adults (“posse
   comitatus”). In your response, state in detail the circumstances surrounding each
   such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, whether such individuals were law enforcement officers or were deputized
   for the purposes of participating, and whether these individuals were required by
   you or your predecessors to carry firearms in connection with their participation;

   Response:

   Two individuals have been deputized to assist us in catching a suspect for running
   from law enforcement after a traffic stop. Both men were deputized and armed. The
   date was September 8, 2003. The deputy attempted to stop a car for speeding. The
   two occupants parked the car and ran away. The car was stolen from a car lot in
   Grand junction. I deputized them to work with me the same night so the deputies
   could get some rest. The person with me I believe carried a Glock .40; he has moved
   from Meeker and I have called his cell phone to attempt to obtain further
   information. We had hired a plane to search and we were out of personnel. The
   intent was to start again in the morning.

   These men were selected because they were known by me and other staff members
   as very experienced pistol and rifle shooters. I believe that the men had Glock .40
   calibers, AR-15’s, shotguns, and perhaps other arms. They patrolled the highway
   with us, in the vehicle, and operated the Thermal vision. The second suspect was
   located the next morning and arrested w/o any problems, tired, cold and hungry.
   The first subject was found the first day.


   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a




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   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: No shots were fired by these men and no individuals were injured.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.

   4. With respect to the allegations of paragraph 103 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 when you or your
   predecessors appointed deputies who were not certified peace officers. In your
   response, state in detail:

   a. the date and duration of each individual’s appointment, the circumstances
   surrounding the need for the “non-certified” deputy, whether the non-certified
   deputy was required to carry a firearm, whether the “non-certified” deputy carried a
   firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
   any non-certified deputy ever discharged a firearm;

   Response:

   Currently we have 15 P.O.S.T. Certified personnel. We are authorized for 17, we are
   down a Patrol Sergeant and a Patrol Deputy.

   We currently have only one P.O.S.T. Certified person in the jail. We currently have
   only two people who are authorized to carry weapons on-duty in the jail. At one
   point we had up to 60% of the jail staff was authorized (Non-Certified) to carry on-
   duty in the jail. Currently we have nine people in the jail with one open/vacant
   position. 1 is certified and 1 of the non-certified is authorized to carry on-duty.

   All Non-Certified Deputies who want to carry On-Duty are required to go through a
   training program which is part classroom and part actual time on the range. Then
   they are required to qualify with the Certified Deputies each range day. Once they
   get qualified through the training program, they are required to go through the
   same quarterly training and qualification course that all Certified Deputies are
   required to go through.

   We do not require Deputies (Jail) to go through the program and carry, it is their
   choice.




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   b. the circumstances surrounding the discharge of the non-certified deputy’s
   firearm, including: the date and location of the event, whether the non-certified
   deputy was fired upon, the number of rounds fired by the non-certified deputy, the
   number of rounds fired by others involved in the event, the capacities of magazines
   from which bullets were fired, and whether any individual was shot;

   Response:

   We have never had any accidental discharges in either the Jail or Patrol and we
   have never had a Jail deputy discharge a firearm in the course of their duties.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.



   5. Describe every occasion since January 1, 2004 when you, your predecessor
   sheriff(s), a sheriff’s deputy, or a family member living with these individuals has
   discharged or otherwise used or displayed a firearm in defense of self, home, or
   other family members. In your response, describe the circumstances surrounding
   each event, including: the events leading to the use, display, or discharge of the
   firearm, the number of rounds fired by you or others, and the capacity of magazines
   used by firearms that were discharged. If any person was shot, identify the
   individuals who inflicted and suffered any gunshot injuries and state whether any
   individual was killed.

   Response: Sheriff Woodruff objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection: I have no information that any predecessor, sheriff,
   deputy or family member has fired or displayed a gun in defense of self, home or
   family in the given time period.


   6. With respect to the allegations of paragraph 105 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 in which you or your
   predecessors in office requested armed citizen assistance for emergencies and
   natural disasters. In your response, state in detail the circumstances surrounding
   each such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, and whether such individuals were law enforcement officers or were




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   deputized for the purposes of participating, and whether these individuals were
   required by you or your predecessors to carry firearms;

   Response: No armed citizen request has been made during this time period.


   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: Not applicable.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.



   AS TO OBJECTIONS:
                                          s/David B. Kopel
                                          INDEPENDENCE INSTITUTE
                                          727 E. 16th Avenue
                                          Denver, CO 80203
                                          Phone: (303) 279-6536
                                          Fax: (303) 279-4176
                                          david@i2i.org

                                          ATTORNEY FOR SHERIFFS AND DAVID
                                          STRUMILLO

   AS TO RESPONSES:
          Pursuant to 28 U.S.C. § 1746, I, Si Woodruff, do hereby verify under penalty
   of perjury that the foregoing responses to Defendant’s Interrogatories are true and
   correct to the best of my information and belief.

         Dated this 12th day of August, 2013.

                                          ______             _____________
                                          s/Sheriff Si Woodruff




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